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        UNITED STATES BANKRUPTCY COURT OF GEORGIA NORTHERN DISTRICT




        CASSANDRA JOHNSON- ANDRY
        DEBTOR                                                   13RC 18-55697LRC




        OBJECTION TO CLAIM NUMBER 21 BUREAUS INVESTMENT GROUP
        PORTFOLIO NO 15 LLC.

        CASSANDRA JOHNSON-LANDRY, Debtor OBJECTS to submitted claim:
        Bureaus Investment Group Portfolio no 15, LLC.in the amount of 10,383.98 on behalf of
        Capital One. There has been no validation of claim. Debtor contacted Company, however there
        no representative was available. In addition, the are additional claims filed by the Bureau which
        are not which are not validated. Possible duplicate claim. (EXHIBIT A).




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        le Day of ay 2021                                                       ePu


         A SSANDRA         HNSON-L           RY,PRO-SE
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        UNITED STATES BANKRUPTCY COURT OF GEORGIA NORTHERN DISTRICT
                                CERTIFICATE OF SERVICE


       I, CASSANDRA JOHNSON-LANDRY, Debtor currently submit Certificate of Service
       Regarding OBJECTION TO CLAIM NUMBER2I THE BUREAUS INC, the 18th
       day of May 2021. Debtor is over the age of 18 years. COS and Objection will be mailed
       by the USPS to:


        17.1..7 c.TNTRA.L STR.I.F„
        EVANSTON,: IL: 0020I

        S. GREGORY HAYS, CHAPTER 7 TRUSTEE
        2964 PEAC,HTREE ROAD, SUITE 555
        ATLANTA, GEORGIA 30305

        HERBERT BROADFOOT, ESQ
        2964 PEACHTREE ROAD, SUITE 555
        ATLANTA, GEORGIA 30305




         8TH DAY OF MAY 2021




        CASSANDRA           HNSON-LA       RY, PRO SE
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                                  EXHIBIT A




                                        16
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                                                                        Document     Page 4 of 6
10/3/2017                                                  https://www.freecroditreport.com/c/#1print/experian/201710031621501417

   CASSANDRA LANDRY - Expenan
                                                                                                                                          •••
   Date of Report. Oct 3, 2017                                                                                                          !experian.
                                                                                    THE OUREAus INC                                                     Closed
    A                                                                                                                                               •
                                                                                       415505xxx

        ACCOUNT DETAILS                                                                          CONTACT INFORMATION


        Account Name                                                    THE BUREAUS INC          1717 CENTRAL ST
                                                                                                 EVANSTON, IL 60201
        Account #                                                                415505XXX       (800) 708-7071

        Original Creditor                                                CAPITAL ONE N.A.        PAYMENT HISTORY

                                                                                                       2017              2016
        Company Sold
                                                                                                 Jan Feb Mar Apr   Jan Feb Mar Apr
        Account Type                            Collection Department / Agency / Attorney        CDOCE           ELIDE
                                                                                                 May Jun Jul Aug May Jun JO Aug
         Date Opened                                                             Sep 1,2016          OCIFI
                                                                                                 Sep Oct Nov Dec Sep Oct Nov Dec
         Account Status                                                              Closed                      EFICID
         Payment Status          Seriously past due date / assigned to attorney, collection
                                 agency, or credit grantor's internal collection department

         Status Updated                                                           Oct 1,2016

         Balance                                                                     $14,019

         Balance                                                                 Sep 19.2017
         Updated

         Original Balance                                                             141119

         Monthly
         Payment

         Past Due                                                                    814,019
         Amount

          Highest Balance

         Terms                                                                       1 Month

          Responsibility                                                            Individual

          Your Statement

          Comments




                                                                           Collections                      Inquiries         :Public Records   Credit Score




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10/3/2017                                                  https://wwwfreecreditreport, comiciii/ptint/expriap/2017 0031621501417

    CASSANDRA LANDRY- Experian
    Date of Report: Oct 3,2017                                                                                                                             ti.experiam
                                                                                      SYNCB/SAMS cum pc
                                                                                                                                                                            Closed
                                                                                       52insxxxxxxvooi

         ACCOUNT DETA1                                                                               CREDIT USAGE

         Account Name                                              SYNCB/SAMS CLUB DC                                    NO Credit Usage
                                                                                                                         You have no account balance. Keeping your account
         Account #                                                    521333XXXXXXXXXX
                                                                                                           0%            balances as low as possible can have a positive impact
                                                                                                                         on your credit,
         Original Creditor

         Company Sold
                                                                                                     CONTACT INFORMATION
         Account Type                                        Credit Card - Revolving Terms
                                                                                                     PO BOX 965005
         Date Opened                                                             Sep 1,2013          ORLANDO, FL 32896
                                                                                                     (866) 220-0254
         Account Status                                                                  Closed
                                                                                                     PAYMENT HISTORY
         Payment Status                                                               Charge-off
                                                                                                           2010                2015                    2014
                                                                                                     Jan Feb Mar Apr     Jan Feb Mar Apt         Jan Feb Mar   Apt
         Status Updated                                                           Sep 1,2016
                                                                                                     C1C3CDO
                                                                                                     May Jun :11,0 Aug   tykay: Juri Jr   Aug:
                                                                                                                                                 OCIE10
                                                                                                                                                 May Jun JO Aug
         Balance                                                                                $0
                                                                                                              120
                                                                                                                 13      [I) F°71
                                                                                                                               ( Ej.             El      CD
         Balance Updated                                                          Sep 5,2016         Sep Oct Nov Dec     Sep Oct Nov Dec         Sep Oct Nov Dec

         Credit Limit                                                                    $7,850
                                                                                                     EIDEJC: 0E00 C1C3RLD
                                                                                                           2013
          Monthly payment                                                                            Jan Feb Mar Apr
                                                                                                     CDFCCD
          Past Due Amount                                                                            May Jun Ja Aug

          Highest Balance
                                                                                                     Elmo
                                                                                                     Sep Oct Nov On

         Terms                                                                         Revolving     EDOCEI
          Responsibility                                                               Individual

          Your Statement

          Comments                      Transferred to another Ijder or claim purchased




        Summary                          Accounts (Closed)                            Collections               Inquiries                 Public Records Credit Score




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10/3/2017                                                        https://wvm,freecreditreporL GOrn/o/#/print/experian/201710031621501417

    CASSANDRA LANDRY- Experian
    Date of Report: Oct 3, 2017                                                                                                            !experian.
                                                                                     THE BUREAUS INC
                                                                                        41505- X                                                       Closed


         ACCOUNT DETAILS                                                                         CONTACT INFORMATION

         Account Name                                                      THE BUREAUS INC       1717 CENTRAL ST
                                                                                                 EVANSTON, IL 60201
         Account #                                                                415505XXX      (800 708-7071

         Original Creditor                                                  CAPITAL ONE N.A.     PAYMENT HISTORY

         Company Sold                                                                                  2017              2016
                                                                                                 Jan Feb Mar Apr   Jan Feb Mar Apr
          Account Type                              Collection Department / Agency / Attorney    BREED           CJET-10
                                                                                                 May Jun Jt Aug May Jun Ja Aug
          Date Opened                                                             Sep 1,2016     ClEIBE          DODO
                                                                                                 Sep Oct Nov Dec Sep Oct Nov Oec
          Account Status                                                              Closed
                                                                                                 EOCIO OCIDED
          Payment Status          Seriously past due dale / assigned to attorney, collection
                                  agency, or credit grantor's internal collection department

          Status Updated                                                          Oct 1,2016

          Balance                                                                    810.689

          Balance                                                                Sep 19, 2017
          Updated

          Original Balance                                                             10790

          Monthly
          Payment

          Past Due                                                                   810,689
          Amount

          Highest Balance

          Terms                                                                      1 Month

          Responsibility                                                            Individual

          Your Statement

          Comments




                                                                                                           Inquiries           Public Records   Credit Score '




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